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FILED
U.S. DISTRICT COURT |
DISTRICT OF PEAR YLAND

IN THE UNITED stares District court ZUOHAR-2 AIT 28

FOR THE DISTRICT OF MARYLAND CLERK'S OFFICE
AT BALTIMORE

CRIMINAL NO. E.G ft “oe OO*/

LIW: USAO#2018R00464

UNITED STATES OF AMERICA

*
*
v. * (Wire Fraud, 18 U.S.C. § 1343;
_* Forfeiture, 18 U.S.C. § 981(a)(1)(C))

GREGORY RAY BLOSSER, *
*
*
Defendant *
*

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INFORMATION
COUNT 1
(Wire Fraud)

The United States Attorney for the District of Maryland charges: |

1. At all times relevant to this Indictment, Defendant GREGORY RAY BLOSSER owned
and operated The Surrogacy Group, LLC, (TSG) a Maryland company that was
incorporated on January 5, 2012 in Annapolis, Maryland. BLOSSER and TSG offered |
and sold surrogacy-related services to consumers throughout the United States and
internationally.

2. As part of TSG’s business, BLOSSER solicited and accepted funds from individuals who
desired to have children using a surrogate. BLOSSER represented to TSG clients that these
funds would be held in escrow and that BLOSSER would act as their agent disbursing the
funds to the surrogate pursuant to contracts between the TSG client and TSG and the TSG

client and the surrogate.
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The Scheme to Defraud
3. From on or about 2017 and continuing until on or about May 2019, the defendant,
GREGORY RAY BLOSSER, devised and intended to devise a scheme and artifice to
defraud TSG clients and to obtain money and property by means of false and fraudulent

pretenses, representations and promises.

Object of the Scheme

4. The object of the scheme was for defendant BLOSSER to divert funds from TSG clients

for his own use.

Manner and Means

5. BLOSSER converted a significant portion of the funds he promised TSG clients he would
hold in escrow to his own use without the authorization of the TSG client and failed to pay
the surrogate as he had agreed to do. BLOSSER did not, as promised, create separate
escrow accounts for these funds or forward the funds to third-party escrow agents. As a
result, those funds intermingled with TSG’s operating accounts and were used to pay
business expenses, service business loans, and for other purposes not permitted under the
escrow agreements. As a result, TSG clients were forced to pay the surrogate’s expenses

themselves, effectively paying twice, for the services BLOSSER had promised to deliver.
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The Charge

6. On or about May 30, 2017, in the District of Maryland and elsewhere, the defendant,
GREGORY RAY BLOSSER .
for the purpose of executing the scheme and artifice to defraud, caused to be transmitted
by means of wire communication in interstate and foreign commerce signals and sounds,
to wit: BLOSSER sent an email from Maryland to a TSG client in Australia in which he
stated that the client’s surrogate’s base fee was $35,000 and the fee needed to be
deposited into an escrow account. The email also contained funding instructions for the

escrow account.

18 U.S.C. § 1343
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FORFEITURE ALLEGATION
The United States Attorney for the District of Maryland further finds that:
1. Pursuant to Fed. R. Crim. P, 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 981(a)(1\(C) and 28 U.S.C. § 2461(c), in the event of the defendant’s conviction on Count One
of this Information.
Wire Fraud Forfeiture
2. Upon conviction of the offense set forth in Count One of this Information, the
defendant,
GREGORY RAY BLOSSER,
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable to the
offense, including, but not limited to: at least $1,104,706.00 in U.S. Currency, in the form of a
money judgment. |
Substitute Assets
3. If, as a result of any act or omission of any defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or soid to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
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e. has been commingled with other property which cannot be subdivided
without difficulty,
the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall
be entitled to forfeiture of substitute property up to the value of the forfeitable property described
above.
18 U.S.C. § 981(a)(1)(C)

21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

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Date: tebe A8, O20 Ketens IK. OMbor [Ef O/
Robert K. Hur
United States Attorney
